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 2
                      UNITED STATES DISTRICT COURT
 3                FOR THE NORTHERN DISTRICT OF ILLINOIS
 4
                                ) Case No.:
 5   MONIKA MCCOMB,             )
                                )
 6           Plaintiff,         )
 7
         v.                     )
                                )
 8   BLUESTEM BRANDS INC. D/B/A ) JURY TRIAL DEMANDED
     FINGERHUT,                 )
 9
                                )
10              Defendant.      )
11
                                     COMPLAINT
12

13         MONIKA MCCOMB (“Plaintiff”), by and through her attorneys, KIMMEL

14   & SILVERMAN, P.C., alleges the following against BLUESTEM BRANDS, INC.
15
     d/b/a FINGERHUT (“DEFENDANT”):
16

17                                  INTRODUCTION
18
           1.    Plaintiff’s Complaint is based on the Telephone Consumer Protection
19
     Act, 47 U.S.C. §227.
20

21                           JURISDICTION AND VENUE
22
           2.    Jurisdiction of this Court arises under 28 U.S.C. § 1331. See Mims v.
23
     Arrow Fin. Services, LLC, 132 S. Ct. 740, 747, 181 L. Ed. 2d 881 (2012).
24

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28
                                   PLAINTIFF’S COMPLAINT
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 1         3.     Defendant regularly conducts business in the State of Illinois, thus,
 2
     personal jurisdiction is established.
 3
           4.     Venue is proper pursuant to 28 U.S.C. § 1391(b)(2).
 4

 5                                           PARTIES

 6         5.     Plaintiff is a “person” as that term is defined by 47 U.S.C. §153(39).
 7
           6.     Plaintiff is a natural person residing in Chicago, Illinois 60614.
 8
           7.     Defendant is a “person” as that term is defined by 47 U.S.C. §
 9

10   153(39).
11
           8.     Defendant is a corporation with its principal place of business located
12
     at 7075 Flying Cloud Drive, Eden Prairie, Minnesota 55344.
13

14
           9.     Defendant acted through its agents, employees, officers, members,

15   directors, heirs, successors, assigns, principals, trustees, sureties, subrogees,
16
     representatives, and insurers.
17
                                FACTUAL ALLEGATIONS
18

19         10.    Plaintiff has a cellular telephone number that she has had for at least

20   one year.
21
           11.    Plaintiff has only used this phone as a cellular telephone.
22
           12.    Beginning in or about June 2015 and continuing through in or around
23

24   March 2017, Defendant placed repeated, continuous telephone calls to Plaintiff’s

25   cellular telephone number.
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                                      PLAINTIFF’S COMPLAINT
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 1         13.    Defendant’s calls originated from phone numbers that include, but are
 2
     not limited to the following: (844) 240-9758. The undersigned has confirmed that
 3
     this phone number belongs to Defendant.
 4

 5         14.    Defendant used an automatic telephone dialing system, automated

 6   message and/or prerecorded voice when contacting Plaintiff.
 7
           15.    Plaintiff knew that Defendant was using an automated telephone
 8
     dialing system because she would regularly be greeted with a recording that would
 9

10   state Defendant’s name before speaking to Defendant’s representatives.
11
           16.    Defendant’s telephone calls were not made for “emergency purposes.”
12
           17.    Desiring to stop the repeated telephone calls, Plaintiff spoke with
13

14
     Defendant’s agents to advise them that she no longer wanted to be contacted on her

15   cellular telephone and to stop calling her in or around July 2015.
16
           18.    This was client’s way of revoking any consent that Defendant may
17
     have had to contact Plaintiff on her cellular telephone number.
18

19         19.    Once Defendant was aware that its calls were unwanted and to stop,

20   there was no lawful purpose to continue making further calls, nor was there any
21
     good faith reason to place calls.
22
           20.    However, Defendant failed to update its records to restrict telephone
23

24   calls to Plaintiff’s cellular telephone.

25         21.    Plaintiff told Defendant on several occasions to stop calling.
26

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                                      PLAINTIFF’S COMPLAINT
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 1         22.    Despite Plaintiff’s multiple requests to stop calling, Defendant
 2
     continued to call.
 3
           23.    It was frustrating, annoying and humiliating for Plaintiff to receive
 4

 5   such continuous and repeated telephone calls from Defendant.

 6         24.    For example, Defendant’s repetitive calls would routinely interrupt
 7
     Plaintiff while attending her church and visiting with her doctor.
 8
           25.    After Defendant ignored Plaintiff’s multiple requests and continued to
 9

10   call her repeatedly and continuously without her consent, she turned to
11
     downloading a blocking application to her cellular telephone to ultimately stop
12
     Defendant’s harassing calls.
13

14
           26.    Upon information and belief, Defendant conducts business in a

15   manner which violates the TCPA.
16

17
                               COUNT I
18            DEFENDANT VIOLATED THE TELEPHONE CONSUMER
19                          PROTECTION ACT

20         27.    Plaintiff incorporates the forgoing paragraphs as though the same were
21
     set forth at length herein.
22
           28.    Defendant initiated multiple automated telephone calls to Plaintiff’s
23

24   cellular telephone number.

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28
                                    PLAINTIFF’S COMPLAINT
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 1         29.   Defendant’s initiated these automated calls to Plaintiff using an
 2
     automatic telephone dialing system.
 3
           30.   Defendant repeatedly placed non-emergency calls to Plaintiff’s
 4

 5   cellular telephone.

 6         31.   Under § 227(b)(3)(A) of the TCPA, a person or entity may bring a
 7
     private cause of action in an appropriate court based on a violation of the TCPA or
 8
     the regulations prescribed under the TCPA to enjoin such violation.
 9

10         32.   Under § 227(b)(3)(B) of the TCPA, a person or entity may bring a
11
     private cause of action in an appropriate court “to recover for actual monetary loss
12
     from such a violation, or to receive $500 in damages for each such violation
13

14
     whichever is greater.”

15         33.   Based upon the conduct of Defendant, Plaintiff avers that the
16
     enhancement of damages provided for by the TCPA allowing for Plaintiff to
17
     recover up to $1,500 per call/violation be applied to calls placed.
18

19         34.   Defendant’s conduct violated § 227(b)(1)(A)(iii) of the TCPA by

20   placing repeated calls using an automatic telephone dialing system to Plaintiff’s
21
     cellular telephone.
22
           35.   Defendant’s calls to Plaintiff’s cellular telephone after she revoked
23

24   consent were not made with Plaintiff’s prior express consent.

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 1         36.    Defendant’s acts as described above were done with malicious,
 2
     intentional, willful, reckless, wanton and negligent disregard for Plaintiff’s rights
 3
     under the law and with the purpose of harassing Plaintiff.
 4

 5         37.    The acts and/or omissions of Defendant were done unfairly,

 6   unlawfully, intentionally, deceptively and fraudulently and absent bona fide error,
 7
     lawful right, legal defense, legal justification or legal excuse.
 8
           38.    As a result of the above violations of the TCPA, Plaintiff has suffered
 9

10   the losses and damages as set forth above entitling Plaintiff to an award of
11
     statutory, actual and trebles damages.
12

13

14
                                   PRAYER FOR RELIEF

15      WHEREFORE, Plaintiff, MONIKA MCCOMB, respectfully prays for a
16
     judgment as follows:
17
                  a.     All actual damages suffered pursuant to 47 U.S.C. §
18

19                       227(b)(3)(A);

20                b.     Statutory damages of $500.00 per violative telephone call
21
                         pursuant to 47 U.S.C. § 227(b)(3)(B);
22
                  c.     Treble damages of $1,500.00 per violative telephone call
23

24                       pursuant to 47 U.S.C. §227(b)(3);

25                d.     Injunctive relief pursuant to 47 U.S.C. § 227(b)(3); and
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 1                 e.      Any other relief deemed appropriate by this Honorable Court.
 2

 3
                                DEMAND FOR JURY TRIAL
 4

 5          PLEASE TAKE NOTICE that Plaintiff, MONIKA MCCOMB, demands a

 6   jury trial in this case.
 7

 8
                                       RESPECTFULLY SUBMITTED,
 9

10   Dated: November 17, 2017          By: /s/ Amy L. Bennecoff Ginsburg
                                       Amy L. Bennecoff Ginsburg, Esq.
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                                      PLAINTIFF’S COMPLAINT
